           Case 2:06-cr-00186-WBS Document 28 Filed 02/08/07 Page 1 of 3


 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   CARO MARKS, Bar #159267
     Senior Litigator
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814                       OK/HAV
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   KENNETH LYNN ARNOLD
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,       )     No. CR-S-06-186 DFL
11                                   )
                    Plaintiff,       )
12                                   )     STIPULATION AND ORDER TO CONTINUE
          v.                         )     NON-EVIDENTIARY MOTIONS HEARING
13                                   )     AND BRIEFING SCHEDULE
     KENNETH LYNN ARNOLD, et al      )
14                                   )
                    Defendants.      )     Date: March 29, 2007
15                                   )     Time: 10:00 a.m.
     _______________________________ )     Judge: Hon. David F. Levi
16
17
          It is hereby stipulated between the parties, Mary Grad, Assistant
18
     United States Attorney, Caro Marks, attorney for defendant Kenneth Lynn
19
     Arnold, and Candace Frye, attorney for defendant Willette King, as
20
     follows:
21
          The non-evidentiary hearing on motions to be filed by the parties,
22
     presently scheduled for March 15, 2007, shall be continued until March
23
     29, 2007, at 10:00 a.m..    At that hearing the Court shall determine
24
     whether an evidentiary hearing is necessary and set the schedule
25
     accordingly.
26
          The new briefing schedule is set as follows:
27
          Defendants’ motion due by March 1, 2007;
28
              Case 2:06-cr-00186-WBS Document 28 Filed 02/08/07 Page 2 of 3


 1        Government’s Response due by March 15, 2007;
 2        Defendants’ optional Reply due by March 22, 2007;
 3        Non-evidentiary hearing on the motions on March 29, 2007.
 4        The reason for the continuance is to allow the government
 5   sufficient time to produce additional discovery to the defense, which
 6   is necessary for the defense to write its motion to suppress evidence.
 7        The parties stipulate and agree that time under the Speedy Trial
 8   Act should be excluded pursuant to Title 18 USC §1361(h)(8)(B)(iv), and
 9   Local Code T-4, to allow defense counsel reasonable time to prepare.
10   Defendant Willette King joins this request for a continuance.
11
12   Dated:    February 5, 2007
                                               Respectfully submitted,
13
                                               DANIEL J. BRODERICK
14                                             Federal Defender
15
                                               /s/ Caro Marks
16                                             ________________________________
                                               CARO MARKS
17                                             Senior Litigator
                                               Attorney for Defendant
18                                             KENNETH LYNN ARNOLD
19                                             /s/ Candace Frye
     Dated: February 5, 2007                   _________________________________
20                                             CANDACE FRYE
                                               Attorney at Law
21                                             Attorney for Defendant
                                               WILLETTE KING
22
                                               MCGREGOR SCOTT
23                                             United States Attorney
24
                                               /s/ Mary Grad
25                                             _________________________________
26                                             MARY GRAD
                                               Assistant U.S. Attorney
27
28

     Stip and order/Arnold/06-186
                                              -2-
           Case 2:06-cr-00186-WBS Document 28 Filed 02/08/07 Page 3 of 3


 1
                                          ORDER
 2
            UPON GOOD CAUSE SHOWN and the stipulation of all parties, it is
 3
     ordered that the March 15, 2007 non-evidentiary motions hearing be
 4
     continued to March 29, 2007, at 10:00 a.m.. The new briefing schedule
 5
     for the filing of motions shall be that set out in the parties’
 6
     Stipulation and [Proposed] Order to Continue Non-Evidentiary hearing
 7
     and Motions Schedule.    The Court finds that the ends of justice to be
 8
     served by granting a continuance outweigh the best interests of the
 9
     public and the defendant in a speedy trial.        It is therefore ordered
10
     that time from the date of the signing of this order up to and
11
     including the March 29, 2007, non-evidentiary hearing shall be excluded
12
     from computation of time within which the trial of this matter must be
13
     commenced under the Speedy Trial Act pursuant to 18 U.S.C. §
14
     3161(h)(8)(A) and (B)(iv) and Local Code T-4, to allow defense counsel
15
     time to prepare, specifically, to receive outstanding discovery which
16
     is necessary for the filings of its motions.
17
     Dated: 02/07/2007
18
                                            /s/ David F. Levi
19
                                            DAVID F. LEVI
20
                                            Chief United States District Judge
21
22
23
24
25
26
27
28

     Stip and order/Arnold/06-186
                                           -3-
